        Case
         Case2:14-cv-00855-JRG
               2:14-cv-00855-JRGDocument
                                 Document120
                                          2 Filed
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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                Eastern District of Texas - Marshall                          on the following
      G Trademarks or         G
                              ✔ Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       2:14-cv-855                         8/14/2014                                    Eastern District of Texas - Marshall
PLAINTIFF                                                                    DEFENDANT
 Luv n' Care, Ltd. and                                                         Jackel International Limited and
 Admar International, Inc.                                                     Mayborn USA, Inc.


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,695,841                                4/15/2014                   Admar International, Inc.

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 ORDERED that in the above-entitled cause, all claims made by Luv n’ care, Ltd. and Admar International, Inc. against
 Jackel International Limited and Mayborn USA, Inc. are hereby DISMISSED WITH PREJUDICE to the re-filing of
 same.


CLERK                                                        (BY) DEPUTY CLERK                                          DATE
                                                               Charlene Hinton                                            12/18/15
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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